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UNITIED STATES DISTRIC'I`

WESTERN DIS'I`RICT Ol~'" LOUISIANA

ALEXANDRIA DIVISION
KENNETH L. PEREGO, Il, individually CIVIL ACTION NO.
and on behalf of his minor son,
KENNETH L. PEREGO, III and
WENDY PEREGO
VERSUS DISTRICT JUDGE
CROSSROADS REGIONAL HOSPITAL, LLC MAGISTRATE JUDGE
OF LOUISIANA (incorrectly named as
ACADIA HEALTI~~ICARE COl\/IPANY, INC.) EEeCl)-'c)nically Fz`lecz'
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NOTICE OF REMOVAL

 

Defendant, Crossroads Regional Hospital, LI_,C oi" Louisiana d/b/a Longleaf Hospital
(hereinafter sometimes collectively referred to as “Longleal"’), incorrectly named as Acadia
I-Iealthcare Company, lnc., through undersigned counsel and pursuant to 28 U.S.C. §§ 1441 and 1446,
files this Notice of Removal of the captioned action now pending in the 9“‘ Judiciai District Coui't
for the Parish of Rapides, State of Louisiana, Doci<et No. 255,705, Division B. In support of its
N<)tice ofRerncval, Longleaf respectfully represents:

l.

On or about May 2, 2016, Kenneth L. Pereg,o, Il, individually and on behalf of his minor son,
Kenneth L. Perego, IIl, and Wendy Perego commenced the captioned action by filing a Petition for
Daniages (the °°Petition”) in state court. Longleaf Was Served on May 6, 2016. A copy of all process,
pieadings, and orders Sei'ved upon Longleaf in the state court action are attached hereto as EXHIBIT

A.

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2.
According to the allegations of the Petition, Plaintiffs reside in Rapides Parish, Louisiana.'
3.

in the Petition, Piaintifl"s assert claims individually and on behalf of their minor son for
damages arising out oi"brain and other injuries allegedly sustained by their son, Kenneth L. Perego,
III, along With past and future severe emotional distress, and loss of enjoyment of life, along With
other money damages referenced in the Petition. Louisiana law does not permit demand for a
specific amount as contemplated by 28 U.S.C. §l¢i¢iG(c)(Z)(/\.)(ii). Hovvever, based upon Plaintiffs‘
Petition for Damages, it is evident Plaintiffs' claim exceeds 375,000.00, exclusive of interest and
costs.2

4.

Longleaf does not admit the underlying facts as alleged by Plaintiffs or as summarized above

Further, Longleaf expressly denies that it is liable to Plaintiffs as alleged
5.

The Petition names Acadia Healthcare Company, Inc. (“Acadia”) as the defendant and
correctly acknowledges that Acadia is a foreign corporation having its principal place of business
in Franl<lin, 'i`ennessee.3 The correct defendant should be Crossroads, which is a Deiaware limited
liability company With its principal business office in Franklin, Tennessee. its sole member is

Acadia.

 

lSee Plaintiffs’ Petition for Damages, introductory paragraph.
2See Piaintiffs’ Petition, 1}€[16~19.

3See Plaintiffs’ Petition, il 1.

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6.

"l"hi s Court has diversityj urisdiction pursuant to 28 U.S.C. §1332, because complete diversity
exists between Longleaf and Plaintiffs, and the amount in controversy exceeds 875 ,000.00, exclusive
of interest and costs.

7.

Plaintiffs’ Petition Was received for the first time by Longleaf on or about May 6, 2016
through service of process Thus, this Notice of Removal has been timely filed under 28 U.S.C.
§l446(b).

8.

A copy of this Notice of Removal is being served upon all known counsel of record, and
Longleaf Will file a copy of the Notice With the clerk for the 9th J udicial District Court, Parish of
Rapides, State of l,ouisiana.

9.

A copy of the process, pleadings, and orders served upon liongleaf in the state court action
are attached to the Listing of Parties pursuant to 28 U.S.C. §l447(b) and hereto as EXHIBIT A.

WHEREF(}RE, Crossroads Regional Hospitai, LLC of Louisiana d/b/a liongleaf Hospital

hereby provides notice that the action is duly removed

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Respectfully subinitted,

SCOFIELD & RIVERA, L.L.C

BY: s/Brvcm D. Scr)fiela'
BRYAN D. SCOFIELD - #19147
JANIES T. RIVERA - #239§3
i00 E. Vermilion, Suite 30l
Post Office Box 4422
Lafayette, Louisiana 70502
(337) 235-5353

ATTORNEYS F()R Crossroads Regionai I“~Iospital,
LLC of Louisiana d/b/a Longieaf Hospital

CERTIFICATE OF SERVICE

l HEREBY CERTIFY that a true and correct copy of the above and foregoing has this date
been forwarded to ali known counsel of record via facsimile transmission and by placing a copy of
same in the United States mail, postage prepaid and properly addressed

Lafayette, Louisiana, this 9th day ofl\/lay, 2016.

.S'/Bryan D. Sc’()field
BRYAN D. SCOFIELD - #19147

